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                       No. 23-1174 (L), 23-1221
                               IN THE
    United States Court of Appeals for the District of
                   Columbia Circuit
                   CITY OF PORT ISABEL, ET AL.,
                                               Petitioners,
                               v.
             FEDERAL ENERGY REGULATORY COMMISSION,
                                             Respondent,

     RIO BRAVO PIPELINE COMPANY, LLC; RIO GRANDE LNG, LLC
                                  Intervenors for Respondent.

           On Petition for Review of Orders of the Federal
                  Energy Regulatory Commission
 INTERVENOR RIO GRANDE LNG’S REPLY IN SUPPORT OF
     ITS MOTION FOR A 30-DAY EXTENSION OF TIME

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     Intervenor Rio Grande LNG hereby responds to Petitioners’

opposition to Rio Grande’s motion for a 30-day extension of the current

deadline for parties to seek rehearing and rehearing en banc.

     1. Petitioners’ opposition largely rests on purported harms if

construction of the Rio Grande project continues. Opp. 1-2, 3. In so

arguing, Petitioners make the same misleading arguments about the

purported impacts of construction that they made to this Court in their

earlier rejected motion to stay the Commission’s reauthorizations. See

Pets.’ Mot. for a Stay at 12-16 (Feb. 2, 2024). The Commission fully

rebutted these arguments—pointing out, for example, that the potential

air emissions Petitioners complain about are not anticipated for years,

if at all. See FERC, Opp. to Pets.’ Mot. for a Stay at 20-22 (Feb. 12,

2024). And, with no harm to support their motion, this Court denied

Petitioners’ stay motion. Order (Mar. 1, 2024).

     Similarly, there is no material harm to support rejection of the

modest extension sought here.

     2. Petitioners also suggest that if construction is allowed to

continue, it will somehow taint the Commission’s consideration of

whatever issues remain after rehearing proceedings are completed,



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tilting the scales in favor of reauthorizations. Opp. 1-2. Yet, there is no

valid reason to expect that the Commission’s decision on remand will be

guided by anything other than its mandate to approve the Rio Grande

project unless it finds that the project will not be consistent with the

public interest. See 15 U.S.C. § 717b(a).

     3. The harms that are most relevant and salient here are not

those future and imaginary harms—previously rejected by this Court—

cited by Petitioners, but rather those harms that will be triggered if the

ongoing construction of this $18.4 billion LNG facility must be halted

prior to Intervenor having the opportunity to seek further review. The

petition for rehearing and rehearing en banc will explain that the

panel’s decision conflicts with Supreme Court and Circuit precedent,

and creates clear conflicts with other circuits. If the panel’s ruling goes

into effect and if it halts construction, it would put the entire $18.4

billion project at risk, endanger thousands of good-paying jobs, have

devastating consequences for the local economy, and deter the building

of future major energy infrastructure projects.

     The additional time is necessary to fulsomely present those

important arguments to this Court. Notably, the requested additional



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time will allow the entities and groups at greatest risk of suffering

those harms to find counsel and prepare and submit amicus briefs

explaining the impending severe consequences. Those amicus briefs

will provide details regarding the real-world impacts of the panel’s

ruling that no other party can provide.

     4. As explained in the extension motion, Rio Grande’s August 20

filing of a request to withdraw consideration of its Carbon Capture

Sequestration proposal before the Commission also supports the request

for additional time to file for rehearing. If no protest to the withdrawal

is filed (and none has been filed to date), the withdrawal will be

effective 15 days after the withdrawal filing. If a protest is filed, the

Commission will then decide whether to accept or “disallow … [the]

withdrawal.” 18 U.S.C. § 385.216. Whether the withdrawal goes into

effect directly implicates the issues Rio Grande pursues in its petition.

The short additional time requested will allow that process to play out.

     5. The request for an extension of time is made in good faith and

will allow new counsel time to present the rehearing issues to the panel

and the en banc Court, and coordinate with the other parties to this

litigation. It will also allow counsel for amici to ensure that their briefs



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in support of further review are not duplicative or redundant.

Petitioners have provided no sound basis for denying the additional

time requested to perform those necessary functions.

                            CONCLUSION

     For the foregoing reasons, this Court should grant the requested

30-day extension of time (to and including October 21, 2024) for all

parties to petition for rehearing and rehearing en banc in these

consolidated cases.

                                  Respectfully submitted,

                                  /s/Robert M. Loeb
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                 CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2) because this motion contains 674 words, excluding the

parts of the motion exempted by Fed. R. App. P. 32(f).

     This motion complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because this motion has been prepared in a proportionally

spaced typeface using Microsoft Word 365 in Century Schoolbook 14-

point font.

                              ORRICK, HERRINGTON & SUTCLIFFE LLP

                              /s/ Robert M. Loeb
                              Robert M. Loeb
                              Counsel for Intervenor Rio Grande LNG
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                       CERTIFICATE OF SERVICE

     Pursuant to Rule 25 of the Federal Rules of Appellate Procedure, I

hereby certify that on August 29, 2024, I electronically filed the

foregoing “INTERVENOR RIO GRANDE LNG’S REPLY IN SUPPORT

OF ITS MOTION FOR A 30-DAY EXTENSION OF TIME” with the

Clerk of the Court for the U.S. Court of Appeals for the District of

Columbia Circuit by using the appellate CM/ECF system, and served

copies of the foregoing via the Court’s CM/ECF system on all ECF-

registered counsel.



                               ORRICK, HERRINGTON & SUTCLIFFE LLP

                               /s/ Robert M. Loeb
                               Robert M. Loeb
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